USCA4 Appeal: 24-6743   Doc: 1       Filed: 08/06/2024 Pg: 1 of 1
               Case 1:19-cr-00160-ELH Document 446 Filed 08/06/24 Page 1 of 1

                                                                    FILED: August 6, 2024

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 24-6743
                                         (1:19-cr-00160-ELH-1)
                                          (1:23-cv-02058-ELH)
                                         ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        DEMETRIOS STAVRAKIS, a/k/a Dimitrios Stavrakis, a/k/a Jimmy

                     Defendant - Appellant


        This case has been opened on appeal.

        Originating Court                         United States District Court for the
                                                  District of Maryland at Baltimore
        Originating Case Number                   1:19-cr-00160-ELH-1
                                                  1:23-cv-02058-ELH
        Date notice of appeal filed in            08/01/2024
        originating court:
        Appellant(s)                              Demetrios Stavrakis
        Appellate Case Number                     24-6743
        Case Manager                              Richard H. Sewell
                                                  804-916-2702
